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AO 440 (Rev. 06/12) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                            Southern District
                                                          __________  DistrictofofNew York
                                                                                   __________

   SUNG CHO, NAGLE WASHRITE LLC, DAVID DIAZ, and                                )
JAMEELAH EL-SHABAZZ, on behalf of themselves and all others                     )
                  similarly situated
                                                                                )
                                                                                )
                               Plaintiff(s)                                     )
                                                                                )
                                   v.                                                   Civil Action No. Civil Action No. 1:16-cv-7961
                                                                                )
CITY OF NEW YORK, BILL DE BLASIO, in his official capacity as Mayor of          )
 the City of New York, NEW YORK CITY POLICE DEPARTMENT, JAMES
 P. O'NEILL, in his official capacity as New York City Police Commissioner,     )
NEW YORK CITY LAW DEPARTMENT, and ZACHARY W. CARTER, in his                     )
      official capacity as Corporation Counsel of the City of New York
                                                                                )
                             Defendant(s)                                       )

                                                         SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) City of New York
                                              Corporation Counsel of the City of New York
                                              100 Church Street
                                              New York, NY 10007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Robert E. Johnson                     &       Ana-Claudia Roderick
                                              Milad Emam                                     Golenbock Eiseman Assor Bell & Peskoe LLP
                                              Darpana Sheth                                  711 Third Avenue
                                              Institute for Justice                          New York, NY 10017
                                              901 N. Glebe Road, Suite 900
                                              Arlington, VA 22203

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                           CLERK OF COURT


Date:
                                                                                                      Signature of Clerk or Deputy Clerk
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 Civil Action No. Civil Action No. 1:16-cv-7961

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    City of New York
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                         Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
